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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                             CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY LITIGATION                                 MDL NO. 2327

____________________________________________
THIS DOCUMENT RELATES TO THE CASE(S)
LISTED ON THE EXHIBIT ATTACHED HERETO:


   JOINT MOTION TO DISMISS BOSTON SCIENTIFIC CORP. WITH PREJUDICE

       Plaintiffs in the cases listed on the attached Exhibit A and defendant Boston Scientific

Corp., advise the Court that they have compromised and settled all claims between them in these

actions, including all counterclaims, cross-claims and third party claims.

       Accordingly, Plaintiffs and Boston Scientific Corp. jointly move the court to dismiss

Boston Scientific Corp. with prejudice in the cases listed on the attached Exhibit A, with each

party to bear its own costs. The settlements in the cases listed on Exhibit A relate only to Boston

Scientific Corp. Other defendants in these actions remain pending, and plaintiffs will continue to

prosecute these actions against them.

Respectfully:

/s/ Jon A. Strongman
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P. O. Box 832
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Attorneys for Plaintiffs on Exhibit A
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            EXHIBIT A – BLASINGAME BURCH GARRARD & ASHLEY, P.C.



CIVIL ACTION NUMBER                             CASE NAME
   (listed numerically in
      ascending order)

                                           Cynthia Ann Colglazier v.
      2:13-cv-06016                           Ethicon, Inc., et al.
                                               Sheila Alston v.
      2:13-cv-09144                           Ethicon, Inc., et al.
                                        Genee Shahin and Fadil Shahin v.
      2:14-cv-24666                           Ethicon, Inc., et al.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 22, 2016, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system which will send notification of such filing to the CM/ECF

participants registered to receive service in these member cases.




                                              By: /s/ Jon A. Strongman
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